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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )
       vs.                                           )              Cr. No. 05-1849 JH
                                                     )
DANA JARVIS,                                         )
                                                     )
               Defendant.                            )


                UNITED STATES' UNOPPOSED MOTION FOR EXTENSION
             OF TIME TO RESPOND TO DEFENDANTS’ MOTION TO EXCLUDE

       COMES NOW the United States of America, by and through David C. Iglesias, United

States Attorney for the District of New Mexico, and Stephen R. Kotz, Assistant United States

Attorney for said District, and moves the Court for an extension of time to respond to the

Defendant’s Motion to Exclude Consideration of the Contents Specific Wiretapped Phone Call at

Any Future Proceeding filed August 3, 2006 (Doc. 616), and in support of its motion states:

       1.      On August 3, 2006 defendant Dana Jarvis filed his Motion to Exclude

Consideration of the Contents Specific Wiretapped Phone Call at Any Future Proceeding, in

which he seeks to exclude the contents of Call No. 957, monitored on or about March 21, 2005.

The motion was served on the United States by facsimile on August 7, 2006. Thus, the United

States’ response to that motion is due August 21, 2006.

       2.      The United States anticipates a forthcoming motion to suppress the entire wiretap

by all defendants which renders this particular motion premature.

       3.      Judicial Economy will be served by addressing issues relating to the wiretap in a
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consolidated pleading.

       4.      The United States therefore requests that it be allowed to file its response to

defendant’s Motion to Exclude Consideration of the Contents Specific Wiretapped Phone Call at

Any Future Proceeding at the same time it responds to all motions to suppress.

       5.      Counsel for defendant Jarvis does not oppose the relief requested in this motion.

       WHEREFORE, the United States respectfully requests that the Court grant an extension

of time for the filing of its response to the defendant’s Motion to Exclude Consideration of the

Contents Specific Wiretapped Phone Call at Any Future Proceeding until its response to all

motions to suppress is due.

                                                      Respectfully submitted,

                                                      DAVID C. IGLESIAS
                                                      United States Attorney

                                                      ELECTRONICALLY FILED

                                                      STEPHEN R. KOTZ
                                                      Assistant U.S. Attorney
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I HEREBY CERTIFY that a true copy
of the foregoing pleading was mailed
to opposing counsel of record this 17th
day of August, 2006.

ELECTRONICALLY FILED

STEPHEN R. KOTZ
Assistant U.S. Attorney


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